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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                                Case No. 1:24-cr-00091 (GHW)

              -v-
                                                         MOTION FOR LEAVE TO SEEK
ANDREY KOSTIN et al.,                                    BILL OF PARTICULARS
                              Defendants.




       Defendant Vadim Wolfson seeks leave to file a Motion for a Bill of Particulars, in the form

of the pleadings and related attachments filed in connection with ECF Nos. 81–83. Pursuant to

Federal Rule of Criminal Procedure 7(f), a defendant “may move for a bill of particulars before or

within 14 days after arraignment or at a later time if the court permits.” Because more than 14

days have passed since Mr. Wolfson’s arraignment, he files this motion seeking the Court’s leave.

Courts determining whether to grant leave to file outside the 14-day window consider whether

there are “factual circumstances to indicate good cause.” See United States v. McKay, 70 F. Supp.

2d 208, 211 (E.D.N.Y. 1999) (considering issue under prior version of the rule, which had a 10-

day window). Here, good cause exists for two reasons.

       First, given the complexity of the case, it took counsel time to evaluate the gaps in the

government’s case. The government has produced more than 4.4 million pages of documents, with

the most recent production occurring on November 6, 2024. And the government has not even

completed its productions. Instead, the prosecution team has indicated that additional Rule 16 and

Section 3500 materials remain forthcoming.       Moreover, the number of pages significantly

understates the volume of production, as the entire contents of devices, such as a phone and iPad,

have been produced as spreadsheets, which each comprise just one Bates number per device but
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contain voluminous data. Through a careful review of the productions, counsel was able to narrow

down the request for a bill of particulars to just two issues, as reflected in the proposed motion. It

would not have been practical to make a targeted, informed request within 14 days.

         Second, Mr. Wolfson desired to meet and confer with the prosecution to attempt to obtain

clarity on the government’s anticipated proof prior to requesting a bill of particulars. To that end,

as explained in the proposed motion, undersigned counsel met with the prosecution team in August

2024 and conferred with the government by email earlier this month in an attempt to obtain the

basis for the two at-issue allegations. As reflected in the proposed motion, the government has

declined to provide the necessary information, thus requiring the remedy of a bill of particulars.

         Mr. Wolfson met and conferred with the government, whose position is: “We may object

to the motion as being untimely, among other things.”

Dated:    November 25, 2024

                                                      /s/ David C. Rybicki
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